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                                                                                SA\      n,ll DIV.


                                                                             2010 NAY 19 AM I1: 36
                 IN THE UNITED STATES DISTRICT COURT
                FOR THE SOUTHERN DISTRICT OF GEORGIA                       CLERK,
                          SAVANNAH DIVISION                                     SO. DIST. OF GA.



LENWARD SMITH

             Plaintiff,
                                                     CIVIL ACTION
►^/I                                                 FILE NO.
                                                                  CV41O-274
PROFIT SERVICES GROUP, LLC AND
KARLA FIGUEROA

             Defendants.


                              NATURE OF ACTION

       1.    This is an action brought under the Fair Debt Collection Practices Act

("FDCPA"), 15 U.S.C. § 1692 et seq., and the Telephone Consumer Protection Act

("TCPA"), 47 U.S.C. § 227.

                           JURISDICTION AND VENUE

       2.    This Court has jurisdiction under 15 U.S.C. § 1692k(d), 47 U.S.C. §

227(b)(3), 28 U.S.C. § 1331, and 28 U.S.C. § 1367(a).

       3.    Venue is proper before this Court pursuant to 28 U.S.C. §1391(b),

where the acts and transactions giving rise to Plaintiffs action occurred in this

State and this district, where Plaintiff resides in this State and this district, and

where Defendants transact business in this State and this district.
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                                     PARTIES

      4.      Plaintiff, Lenward Smith ("Plaintiff"), is a natural person who at all

relevant times resided in the State of Georgia, County of Chatham, and City of

Savannah.

      5.      Plaintiff is a "consumer" as defined by 15 U.S.C. § 1692a(3).

      6.      Defendant, Profit Services Group, LLC ("PSG") is an entity who at all

relevant times was engaged, by use of the mails and telephone, in the business of

attempting to collect a "debt" from Plaintiff, as defined by 15 U.S.C. §1692a(5).

      7.      Defendant, Karla Figueroa ("Figueroa") is an individual who at all

relevant times was engaged, by use of the mails and telephone, in the business of

attempting to collect a "debt" from Plaintiff, as defined by 15 U.S.C. § 1692a(5).

      8.      "Employees can be held personally liable under the FDCPA."

Robinson v. Managed Accounts Receivable Corp., 654 F. Supp. 2d 1051, 1059

(C.D. Cal. 2009); see Schwarm v. Craighead, 552 F. Supp. 2d 1056, 1070-71 (E.D.

Cal. 2008).

      9.      Furthermore, "most district courts that have addressed the issue have

held that the corporate structure does not insulate shareholders, officers, or

directors from personal liability under the FDCPA." Schwarm v. Craighead, 552

F. Supp. 2d 1056, 1070-71 (E.D. Cal. 2008); see Kistner v. Law Offices of Michael
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P. Margelefsky, L.L.C., 518 F.3d 433, 437-38 (6th Cir. 2008); del Campo v.

Kennedy, 491 F. Supp. 2d 891, 903 (N.D.Cal.2006); Brwnbelow v. Law Offices of

Bennett & Deloney, P.c., 372 F.Supp.2d 615, 618-21 (D. Utah 2005); Albanese v.

.Portnoff Law Assocs., Ltd., 301 F. Supp. 2d 389, 400 (E.D. Pa. 2004); Musso v.

Seiders, 194 F.R.D. 43, 46-47 (D.Conn.1999); Brink v. First credit Res., 57 F.

Supp. 2d 848, 861-62 (D. Ariz. 1999); Pikes v. Riddle, 38 F. Supp. 2d 639, 640

(N.D. II!. 1998); Ditty v. CheckRite, Ltd., 973 F. Supp. 1320, 1337-38 (D. Utah

1997); Newman v. Checkrite Cal., Inc., 912 F. Supp. 1354, 1372 (E.D. Cal.1995);

Teng v. Metro. Retail Recovery Inc., 851 F. Supp. 61, 67 (ED. N.Y. 1994).

      10.   Profit Services Group, LLC and Karla Figueroa ("Defendants") are

"debt collectors" as defined by 15 U.S.C. § 1692a(6).

                          FACTUAL ALLEGATIONS

      11.   Plaintiff is a natural person obligated, or allegedly obligated, to pay a

debt owed or due, or asserted to be owed or due a creditor other than Defendants.

      12.   Plaintiffs obligation, or alleged obligation, owed or due, or asserted to

be owed or due a creditor other than Defendants, arises from a transaction in which

the money, property, insurance, or services that are the subject of the transaction

were incurred primarily for personal, family, or household purposes.

      13. Defendants use instrumentalities of interstate commerce or the mails
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in a business the principal purpose of which is the collection of any debts, and/or

regularly collects or attempts to collect, directly or indirectly, debts owed or due,

or asserted to be owed or due another.

      14.    Within one (1) year preceding the date of this Complaint, Defendants

made and/or placed a telephone call to Plaintiff's cellular telephone number, in

effort to collect from Plaintiff an obligation, or alleged obligation, owed or due, or

asserted to be owed or due a creditor other than Defendants.

      15.    Within one (1) year preceding the date of this Complaint, Defendants

willfully and knowingly utilized an automatic telephone dialing system to make

and/or place a telephone call to Plaintiff's cellular telephone number, in effort to

collect from Plaintiff an obligation, or alleged obligation, owed or due, or asserted

to be owed or due a creditor other than Defendants.

       16.   Defendants, via their agent and/or employee Sophia Medley, left a

voice message for Plaintiff on Plaintiff's cellular telephone on September 13, 2010

   3:24 P.M. in which Defendants failed to disclose its true corporate and/or

business name and further failed to notify Plaintiff that the communication was

fi-orn a debt collector. (15 U.S.C. § 1692d(6), 1692e(1 1)).

       17.   Defendants placed multiple non-emergency calls to Plaintiff's cellular

telephone, without the prior express consent of Plaintiff, using an automatic
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telephone dialing system. (47 U.S.C. 227(b)(1)(A)(iii)).

         18.      Defendants' actions constitute conduct highly offensive to a

reasonable person.

                                       COUNT I
                                    DEFENDANT PSG

         19.      Plaintiff repeats and re-alleges each and every allegation contained

above.

         20.      Defendant PSG violated the FDCPA as detailed above.

         WHEREFORE, Plaintiff prays for relief and judgment, as follows:

               a) Adjudging that Defendant PSG violated the FDCPA;

               b) Awarding Plaintiff statutory damages, pursuant to 15 U.S.C. §1692k,

                  in the amount of $1,000.00;

               c) Awarding Plaintiff actual damages, pursuant to 15 U.S.C. § 1692k;

               d) Awarding Plaintiff reasonable attorneys' fees ands costs incurred in

                  this action;

               e) Awarding Plaintiff any pre-judgment and post-judgment interest as

                  may be allowed under the law;

               f) Awarding such other and further relief as the Court may deem just and

                  proper.
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                                   COUNT II
                              DEFENDANT FIGUEROA

         21. Plaintiff repeats and re-alleges each and every allegation contained

above.

         22. Defendant Figueroa violated the FDCPA as detailed above.

         WHEREFORE, Plaintiff prays for relief and judgment, as follows:

            g) Adjudging that Defendant Figueroa violated the FDCPA;

            h) Awarding Plaintiff statutory damages, pursuant to 15 U.S.C. §1692k,

               in the amount of $1,000.00;

            i) Awarding Plaintiff actual damages, pursuant to 15 U. S.C. § 1692k;

           j) Awarding Plaintiff reasonable attorneys' fees ands costs incurred in

               this action;

            k) Awarding Plaintiff any pre judgment and post judgment interest as

               may be allowed under the law;

            1) Awarding such other and further relief as the Court may deem just and

               proper.

                                    COUNT III
                                 DEFENDANT PSG

         23. Plaintiff repeats and re-alleges each and every allegation contained.

above.
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      24. Defendant violated 47 U.S.C. § 227(b)(1)(A)(iii) by willfully and

knowingly utilizing an automatic telephone dialing system to make and/or place a

telephone call to Plaintiffs cellular telephone number.

      WHEREFORE, Plaintiff prays for relief and judgment, as follows:

         a) Adjudging that Defendant violated 47 U.S.C. § 227(b)(1)A)(iii);

         b) Awarding Plaintiff statutory damages, pursuant to 47 U.S.C. §

             227(b)(3)(B), in the amount of $500.00 per violation;

         c) Awarding Plaintiff statutory damages, pursuant to 47 U.S.C. §

             227(b)(3)(C), in the amount of $1,500.00 per violation;

          d) Awarding Plaintiff actual damages, pursuant to 47 U.S.C. §

             227(b)(3)(B);

         e) Awarding Plaintiff reasonable attorneys' fees ands costs incurred in

             this action;

          f) Awarding Plaintiff any pre-judgment and post-judgment interest as

             may be allowed under the law.
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                                TRIAL BY JURY

      25. Plaintiff is entitled to and hereby demands a trial by jury.




This 1 (o4 day of November, 2010.


                                             ATTORNEYS FOR PLAINTFF
                                             LEN WARD SMITH

                                             Respectfully submitted,


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                  IN THE UNITED STATES DISTRICT COURT
                 FOR THE SOUTHERN DISTRICT OF GEORGIA
                           SAVANNAH DIVISION

LENWARD SMITH

              Plaintiff,
                                                 CIVIL ACTION
V.                                               FILE NO.

PROFIT SERVICES GROUP, LLC AND
KARLA FIGUEROA

              Defendants.


        CERTIFICATE OF COMPLIANCE WITH LOCAL RULE 5.1

       The undersigned hereby certifies that the foregoing document has been

prepared in accordance with the font type and margin requirements of Local Rule

5.1 of the Southern District of Georgia, using a font type of Time New Roman and

a point size of 14.

                                           Respectfully submitted,


                                           Dennis R. Kurz
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